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                            EXHIBIT

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                                                July 9, 2023
Patrick McGettigan
Attorney At Law
2802 Flintrock Trace
Suite 367
Austin, Texas 78738

Re:     No. 4:21-cv-03306; Safety Vision, LLC v. LEI Technology Canada and Lanner
        Electronics, Inc.; In the United States District Court, Southern District of Texas, Houston
        Division.

Mr. McGettigan,

       Please allow this correspondence to serve as our Rule 11 Agreement to extend the
discovery period to June 30, 2023, so that we can complete written discovery, document
production, and depositions. At this time, we are not extending any other deadlines.

         If this accurately reflects our agreement, please sign below and return to my office. If
this is not accurate, please let me know.

                                                   Sincerely,




                                                   Staci M. Vetterling
Agreed:


__________________________________
Patrick McGettigan




Staci M. Vetterling | svetterling@hartlinebarger.com | direct dial: (713) 951-4224 | direct fax: (713) 652-4124
